          Case 4:01-cr-40057-JPG                     Document 388 Filed 10/29/08                     Page 1 of 4         Page ID
                                                               #465
'AO 245D      (Rev. 12107) Judgment in a Criminal Case for Revocations
              Sheet 1



                                       UNITED STATES DISTRICT COURT                                                     I:'/{
                                                          Southern District ofIJIinois                              a               ~()
          UNITED STATES OF AMERICA
                                                                           .t24/eP'4fl!"d                8oCI.~~
                                                                          ~dgment in a Criminal ca~"'It/Ji4Ju.s
                                                                                                                     re'19 /An..
                              v.                                          (For Revocation of Probation or Supervi~&a..~~.,.~"'vqy
                   Todd A. Jackson                                                                                 Aiib7IiiO~~c/O~ cOl.l~
                                                                                                                                C
                                                                                                                                  '"
                                                                                                                                    /,
                                                                                                                              ICI:: 'l.l.,~ .,.
                                                                          Case No. 4:01 CR40057-05                                         O's
                                                                          USMNo.06717-o28
                                                                           Melissa A. Day. AFPD
                                                                                              Defendant's Attorney
mE DEFENDANT:
~ admitted guilt to violation of condition(s)            as alleged in petition
                                                                             ofthe tenn of supervision.
o was found in violation of condition(s)               _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty ofthese violations:

Violation Number              Nature of Violation                                                            Violation Ended
Statutory                          The defendant committed the offense of Aggravated DUI                     06/29/2008
Standard # 7                       The .def8fld8ntuMdak»hott<)·exce8s                                        0612912008
Special                            The defendant used alcohol whiled enrolled in substance                   06/29/2008
                                   abuse treatIT1ent
       The defendant is sentenced as provided in pages 2 through              4      of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s)                                and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
c~e of name, residence, or mailing address untt1 all fines, restitution, costs, and s~ial assessments imP0se4 by this judgment are
fully ~d. ~ ordered to pay restitution, the defendant must notify the court and United States attorney ofmaterial changes m
econotnlc circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8357

Defendant's Year of Birth:            1966

City and State of Defendant's Residence:
Centralia, IL 62801
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 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2-1mprisonment
                                                                                              Judgment -          2_ of
                                                                                                           Page _ _            4
 DEFENDANT: Todd A. Jackson
 CASE NUMBER: 4:01 CR400S7-oS


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a total
 total term of:
4 months




     o The court makes the following recommendations to the Bureau of Prisons:



     o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
       o as notified by the United States Marshal.
     f/ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before 2 p.m. on
           ri/ as notified by the United States Marshal.
           o     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                  to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy ofthis judgment.




                                                                                          UNITED STATES MARSHAL


                                                                             By          ==~=~~=~':"':"'::=_:_:_---
                                                                                        DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -   Supervised Release

                                                                                                   Judgment-Page ~ of _ _4
                                                                                                                         __
  DEFENDANT: Todd A. Jackson
  CASE NUMBER: 4:01 CR40057-Q5
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
60 months



           The defendant must l'epQrt to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody ofthe Bureau ofPrisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully ~ssess a controlled substance. The defendant shall refrain from anY.: unlawful use of a controlled
  substance. The defendant shall subinit to one drug test within 15 days of release from imprisonment ano at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  rI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  tI The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           Ifthis jud8!J!ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the SchedUle ofPayments sheet ofthis judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
  2)        the defendant shall re~rt to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  1)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled subStances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any pet:SOns engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted penmssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contrabaild observed in plain view ofthe probation officer;
  ll)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission ofthe court; and
  13)       as directed by the PJ:obation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's Crimirial record or ~rsonal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release

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 DEFENDANT: Todd A. Jackson
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                                            SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall spend the first fourt months in home detention with electronic monitoring as directed by probation

X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
may be grounds for revocation. The defendant shall inform any other residents that the premises may be sUbject to a
search pursuant to this condition.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Capay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X The defendant shall refrain from any use of alcohol.
